            Case 1:21-cv-02195-LGS Document 63 Filed 08/31/22 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                            X
                                                            :
COMPASS, INC. AND COMPASS RE NY,                            :
LLC,                                                        :
                                       Plaintiffs,          :            Civ. 21-2195 (LGS)
                        -v-                                 :                 AMENDED
                                                            :              CIVIL CASE
REAL ESTATE BOARD OF NEW YORK,                              :          MANAGEMENT PLAN
INC.,                                                       :           AND SCHEDULING
                                       Defendant.           :                  ORDER
                                                            X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.     All parties do not consent to conducting all further proceedings before a United States
       Magistrate Judge, including motions and trial. See 28 U.S.C. § 636(c). The parties are
       free to withhold consent without adverse substantive consequences.

2.     The parties have conferred pursuant to Fed. R. Civ. P. 26(f).

3.     This case is governed by one of the following sets of rules, and the parties’ proposed
       dates in this order have been adjusted accordingly.

       a.       An employment case governed by the Initial Discovery Protocols for Employment
                cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                [Yes         / No X ]

       b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                Against the City of New York? https://nysd.uscourts.gov/rules.
                [Yes        / No X ]

       c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                schofield
                [Yes         / No X ]

       d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                [Yes        / No X ]




                                                 1
                           Case 1:21-cv-02195-LGS Document 63 Filed 08/31/22 Page 2 of 5




             4.       Alternative Dispute Resolution/Settlement

                      a.       Settlement discussions have not taken place.

                      b.       Counsel for the parties have discussed an informal exchange of information in aid
                               of early settlement and have agreed to exchange the following:
                               The parties have not currently agreed to engage in any information exchange of
                               information in aid of early settlement. The parties believe discovery is necessary
                               for productive settlement discussions.

                      c.       Counsel for the parties have discussed the use of the following alternate dispute
                               resolution mechanisms for use in this case: (i) a settlement conference before a
                               Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
                               retention of a private mediator. Counsel for the parties propose the following
                               alternate dispute resolution mechanism for this case:
                               The parties have not yet determined the appropriate mechanism for formal
                               settlement discussions.

                      d.       Counsel for the parties recommend that the alternate dispute resolution
                               mechanism designated in paragraph 4(c) be employed at the following point in the
                               case (e.g., within the next 60 days; after the deposition of plaintiff is completed
                               (specify date); after the close of fact discovery):
                               The parties believe formal settlement discussions will be appropriate at the close
                               of fact discovery and will inform the Court via letter at that time.

                      e.       The use of any alternative dispute resolution mechanism does not stay or
                               modify any date in this Order.

             5.       No additional parties may be joined after May 19, 2022 without leave of Court.

             6.       Amended pleadings may be filed without leave of Court through May 19, 2022.

             7.       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
                      14 days from the date of this Order.

             8.       Fact Discovery                                               February 17, 2023
                                                                                    October 17, 2022
                                                                                   ------------------------
                      a.                                                            ------------------------
                               All fact discovery shall be completed no later than December      15, 2022.
-----------------------
 The deadlines in
----------------------- b.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
 8(b) through 8(f)
-------------------------      be served by May 19, 2022.
 may be set by the                                                           January 16, 2022
----------------------
 written consent c.                                                          --------------------------
                               Responsive documents shall be produced by September         16, 2022.
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 ofthe parties, without
------------------------       Do the parties anticipate e-discovery? [Yes X / No                    ]
 application to the
----------------------------
 Court, so long as all
----------------------
 fact discovery is
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completed by                                                      2
------------------------
October 17, 2022.
                             Case 1:21-cv-02195-LGS Document 63 Filed 08/31/22 Page 3 of 5



                        d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
                                            31, 2022.-------------------------
                                 -----------------------
                                 October                 October 17, 2022. January 3, 2023

                        e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
                                               15, 2022.------------------------
                                 ------------------------
                                 December                 October 17, 2022. February 17, 2023

                        f.Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
                          -----------------------
                          October 31, 2022.October------------------------
                                                              17, 2022. January 3, 2023
The deadlines in paragraph
8 cannot be changedg.     ------------------------------------------------------------------------------------------------------------
                          Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
without a showing of      ------------------------------------------------------------------------------------------------------------
                          written consent of all parties without application to the Court, provided that
cause and a court order. -------------------------------------------------------------------------------------------------
                          all fact discovery is completed by the date set forth in paragraph 8(a).

               9.       Expert Discovery [if applicable]

                        a.       Anticipated types of experts if any:
                                 At this time, the parties anticipate experts on damages, the antitrust market, and
                                 antitrust impact.

                        b.       If you have identified types of experts in question 9(a), all expert discovery shall
                                 be completed no later than April     6, 2023. -----------------------
                                                              ----------------- February 7, 2023
                                                                                June 7, 2023              March 1, 2023
                        c.       If you have identified types of experts in question 9(a), by November ------------------------
                                                                                                                     1, 2022 the
                                 parties shall meet and confer on a schedule for expert disclosures, including
                                 reports, production of underlying documents and depositions, provided that (i)
                                 expert report(s) of the party with the burden of proof shall be due before those of
                                 the opposing party’s expert(s); and (ii) all expert discovery shall be completed
                                 by the date set forth in paragraph 9(b).

               10.      This case is to be tried to a jury.

               11.      Counsel for the parties have conferred and their present best estimate of the length of trial
                        is eight (8) trial days.

               12.      Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
                        Fed. R. Civ. P. 26(f)(3), are set forth below:
                        The parties had an Initial Pretrial Conference in front of Judge Alison J. Nathan on
                        June 25, 2021.

               13.      Status Letters and Conferences
                                                       and every 30 days thereafter,
                        a.      By June 17, 2022, the parties shall submit a joint status letter, as outlined in
                                Individual Rule IV.A.2.
                                    -------------------------
                                    February     21, 2022 June 21, 2023
                        b.      By January 6, 2023, the parties shall submit a joint status letter, as outlined in
                                Individual Rule IV.A.2 and, in the event that they have not already been referred
                                for settlement discussions, shall also advise the Court whether or not they request
                                                                         3
            Case 1:21-cv-02195-LGS Document 63 Filed 08/31/22 Page 4 of 5



                a referral for settlement discussions as provided in Paragraph 4(c) above.
                    July 5, 2023
       c.           March   1, 2022
                On ------------------   at 4:10 P.M. [usually 14 days after the close of all
                discovery], a pre-motion conference will be held for any anticipated dispositive
                motions, provided:

                    i. A party wishing to file a summary judgment or other dispositive motion
                       shall file a pre-motion letter at least two weeks before the conference and
                       in the form provided in the Court’s Individual Rule III.A.1. Any party
                       wishing to oppose shall file a responsive letter as provided in the same
                       Individual Rule. The motion will be discussed at the conference. To join
                       the conference, the parties shall call (888) 363-4749 and use Access Code
                       558-3333. The time of the conference is approximate, but the parties shall
                       be ready to proceed at that time.

                   ii. If no pre-motion letter is timely filed, this conference will be canceled
                       and the matter placed on the Court’s trial-ready calendar. The parties
                       will be notified of the assigned trial-ready date and the filing deadlines for
                       pretrial submissions. The parties are warned that any settlement
                       discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.

        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

       The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar.



       SO ORDERED.


Dated: August 31, 2022
       New York, New York

                                                              LORNA G. SCHOFIELD
                                                              United States District Judge




                                                 4
         Case 1:21-cv-02195-LGS Document 63 Filed 08/31/22 Page 5 of 5



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                                       5
